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                                         ATTACHMENT B

                      CERTIFICATE OF CORPORATE RESOLUTIONS

          WHEREAS, GUNVOR S.A. (the "Company ") has been engaged in discussions with the

  United States Department of Justice, Criminal Division, Fraud Section (the "Fraud Section"), the

  Money Laundering and Asset Recovery Section ("MLARS"), and the United States Attorney's

  Office for the Eastern District of New York (the "USAO-EDNY") (collectively, the "Offices")

  regarding issues arising in relation to the Offices· investigation of violations of Title 18, United

  States Code, Section 371, Conspiracy, and Title I5, United States Code, Section 78dd-3, the

  Foreign Corrupt Practices Act by certain of the Company's employees and agents;

          WHEREAS, in order to resolve such discussions, it is proposed that the Company enter

  into a certain agreement with the Offices (the "Agreement): and

          WHEREAS, the Company 's Chief Legal Officer, Jean-Baptiste Leclercq, together with

  outside counsel for the Company, have advised the Board of Directors of the Company of its rights,

  possible defenses, the Sentencing Guidelines' provisions, and the consequences of entering into

  such Agreement with the Offices;

          Therefore, the Board of Directors has RESOL VED that:

          I.      The Company: (a) acknowledges the filing of the one-count Information charging

  the Company with violating Title 18, United States Code, Section 371, and Title 15, United States

  Code, Section 78dd-3; (b) waives indictment on such charges and enters into the Agreement with

  the Offices; (c) agrees to accept a monetary penalty against Company totaling $374,560,071 and

  forfeiture totaling $287,138,444 under the Agreement with respect to the conduct described in the

  Information, and to pay such penalty and forfeiture to the United States Treasury with respect to




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  the conduct described in the Information; and (d) admits the Court's jurisdiction over the Company

  and the subject matter of such action and consents to the judgment therein;

         2.       The Company accepts the terms and conditions of the Agreement, including, but

  not limited to: (a) a knowing waiver of its rights to a speedy trial pursuant to the Sixth Amendment

  to the United States Constitution, Title 18, United States Code, Section 3161, and Federal Rule of

  Criminal Procedure 48(6); (b) a knowing waiver for purposes of this Agreement and any charges

  by the United States arising out of the conduct described in the attached Statement of Facts of any

  objection with respect to venue and consents to the filing of the Information, as provided under

  the terms of the Agreement, in the United States District Court for the Eastern District of New

  York; and (c) a knowing waiver of any defenses based on the statute of limitations for any

  prosecution relating to the conduct described in the attached Statement of Facts or relating to

  conduct known to the Offices prior to the date on which the Agreement was signed that is not time-

  barred by the applicable statute of limitations on the date of the signing of the Agreement;

         3.          The Chief Legal Officer of the Company, Jean-Baptiste Leclercq, is hereby

  authorized, empowered and directed, on behalf of the Company, to execute the Agreement

  substantially in such form as reviewed by this Board of Directors at this meeting with such changes

  as the Chief Legal Officer of the Company, Jean-Baptiste Leclercq, may approve;

         4.          The Chief Legal Officer of the Company. Jean-Baptiste Leclercq. is hereby

  authorized, empowered and directed to take any and all actions as may be necessary or appropriate

  and to approve the forms, terms or provisions of any agreement or other documents as may be

  necessary or appropriate, to carry out and effectuate the purpose and intent of the foregoing

  resolutions; and




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          5.      All of the actions of the Chief Legal Officer of the Company, Jean-Baptiste

   Leclercq, which actions would have been authorized by the foregoing resolutions except that such

  actions were taken prior to the adoption of such resolutions, are hereby severally ratified,

  confirmed, approved, and adopted as actions on behalf of the Company.



                                                By:




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